                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                           Plaintiff,               )
                                                    )
         vs.                                        )      No. 19-03030-01-CR-S-RK
                                                    )
JAMES WILLIS,                                       )
                                                    )
                           Defendant.               )


                         ACCEPTANCE OF PLEA OF GUILTY AND
                              ADJUDICATION OF GUILT


         Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One, Two,

Three, Four, Five and Six of the Indictment filed on February 20, 2019, is now Accepted and the

Defendant is Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the

Court.




                                                          /s/ Roseann Ketchmark
                                                        ROSEANN KETCHMARK
                                                    UNITED STATES DISTRICT JUDGE




Date: June 30, 2020




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